Case 1:20-cv-02578-BMC Document 83 Filed 03/17/23 Page 1 of 1 PageID #: 2014

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                                                            March 17, 2023

VIA ECF

The Honorable Brian M. Cogan
United States District Judge
U.S. District Court for the Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

        Re:    Force, et al. v. Qatar Charity, et al., No. 1:20-cv-2578—
               Letter Regarding Supplemental Authority

Dear Judge Cogan:

       On behalf of Defendant Qatar Charity, we respectfully write to notify the Court of the
following supplemental authority in further support of its pending motion to dismiss (ECF No.
57): Przewozman et al. v. Qatar Charity et al., 1:20-cv-6088 (NGG)(TAM) (E.D.N.Y. March 17,
2023) (dismissing complaint without prejudice). A copy of the order is attached as Exhibit A.



                                                              Respectfully submitted,

                                                              /s/ John M. Hillebrecht
                                                              John M. Hillebrecht

                                                              Counsel for Qatar Charity

Encl.

cc:     All counsel of record (by ECF)
